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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:                                                          Ch. 11 Case No. 01-42217 (MKV)

 AMES DEPARTMENT STORES, INC., et al.,                           Jointly Administered

                           Post-Confirmation Debtors.            Substantively Consolidated

                             FINAL DECREE CLOSING CHAPTER 11
                            CASES AND GRANTING RELATED RELIEF

           Upon the Application of Ames Department Stores, Inc. and its post-confirmation debtor

 affiliates (the “Post-Confirmation Debtors”)1 for a final decree closing the above-captioned

 chapter 11 cases and granting related relief [ECF No. 4598] (the “Application”); and the Post-

 Confirmation Debtors having filed, and attached to the Application, a Closing Report pursuant to

 Local Rule 3022-1; and this Court being satisfied that the Post-Confirmation Debtors’ estates

 have been fully administered; and upon the certificate of no objection [ECF No. 4599]; now

 therefore, it is hereby ORDERED:

           1.      The Application is granted as set forth herein.

           2.      Pursuant to Bankruptcy Code section 350(a) and Rule 3022, the Post-

 Confirmation Debtors’ chapter 11 cases are hereby closed.

           3.      Donlin shall prepare a final claims register for the Bankruptcy Court Clerk

 pursuant to the guidelines for implementing 28 U.S.C. § 156(c) and box and transport all claims

 in accordance with the Clerk’s directions. The foregoing services to be rendered by Donlin shall

 be a charge to the Post-Confirmation Debtors’ estates.

           4.      Except as provided herein, Donlin is hereby discharged as the Debtors’ claims

 and noticing agent.

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     Capitalized terms used but not defined herein shall have the meaning ascribed to them in the motion.
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        5.      The Closing Report attached to the Application as Exhibit 2 is approved.

        6.      No minimum United States Trustee fees shall be payable in respect of the Post-

 Confirmation Debtors for periods after the date hereof.

        7.      The Post-Confirmation Debtors are authorized to: (a) use the Residual Cash to

 satisfy United States Trustee fees incurred for this quarter through the date of the Final Decree

 and professional fees of the Post-Confirmation Debtors, the Plan Administrator, and the Post-

 Confirmation Committee in winding up the Post-Confirmation Debtors’ estates; (b) dissolve the

 Post-Confirmation Debtors pursuant to Section 4.11 of the Plan; (c) file tax returns for this stub

 year; (d) satisfy the final invoices for their respective professionals and Donlin; (e) make an

 additional distribution of any remaining amounts to holders of allowed note or general unsecured

 claims; and (f) if there are any funds left over, distribute the same to one or more charitable

 organization(s) pursuant to Section 6.4 of the Plan, in each case from the reserve established by

 the Plan Administrator.

        8.      In connection with the Charitable Contribution, the Post-Confirmation Debtors

 are authorized to make a contribution to the Disability Rights Council of Greater Washington, in

 an amount not to exceed $10,000, if and when funds are available for distribution in accordance

 with Section 6.4 of the Plan.

        9.      Notwithstanding entry of this Final Decree, to the extent any action that could

 have been taken pursuant to Article 4 of the Plan (Means of Implementation) has not been

 completed, the Post-Confirmation Debtors, Post-Confirmation Committee, and/or the Plan

 Administrator may undertake such action and shall remain authorized to do so, including, but not

 limited to liquidating any remaining assets (Plan 4.2), undertaking any required Corporate Action

 (Plan 4.10), satisfaction of any PIP and ERP Obligations (Plan 4.9), and Dissolution of the



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 Debtors (Plan 4.11). The Post-Confirmation Committee shall be dissolved upon the completion

 of such action.

        10.        The Plan Administrator, the Post-Confirmation Committee, and their respective

 professionals are hereby discharged from any further duties in connection with these chapter 11

 cases and exculpated and released from any liability on account of any acts or omissions in

 connection with these chapter 11 cases and post-Effective Date acts, except with respect to acts

 or omissions constituting actual fraud, willful misconduct and/or gross negligence.

        11.        The Post-Confirmation Debtors are authorized to abandon all of their books

 records, including books and records presently stored with Iron Mountain Inc. or at any other

 location.

        12.        The Post-Confirmation Debtors are hereby authorized to transfer the

 ameshome.com URL and associated e-mail accounts and related intellectual property to Mr.

 Rolando de Aguiar, provided that, that, to the extent the Plan Administrator determines any value

 for the estates can be (or is) derived from the ameshome.com domain, or from the emails (or

 their content), which is greater than a de minimis amount and which belongs to the Debtors’

 estates (and not, for example, value that belongs to individuals having an ameshome.com email

 address or other third parties), the Plan Administrator will, to the extent practicable, confer with

 counsel regarding steps to bring such value into the estate, including the costs and benefits of any

 further actions.

        13.        The Plan Administrator may take such additional steps as may be necessary to

 wind down the Post-Confirmation Debtors and close these chapter 11 cases.

        14.        This Court shall retain jurisdiction with respect to all matters arising from or

 related to the implementation of this Final Decree.



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        15.        The terms of this Final Decree shall be immediately effective and enforceable

 upon its entry.

        16.        This Court shall retain jurisdiction with respect to any disputes relating to the

 interpretation or enforcement hereof.



 Dated: New York, New York
        June 26, 2017
                                                         s/ Mary Kay Vyskocil
                                                       Honorable Mary Kay Vyskocil
                                                       United States Bankruptcy Judge




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